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UNITED STATES DISTRlCT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

THE SCOT'I` FETZER COMPANY, CASE NO.I:U'}'CVS?[}

Plaintiff, JUDGE CHRISTOPHER A. BOYKO
VS.

KESTU'I`IS STEPONAVICIUS, ET AI_.., ORDER

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Defendant. )

The Court has been advised the action has settled. Therefore, it is not necessary the action
remain on the calendar ofthe Court.

IT IS ORDERED this action is closed. lt shall be marked settled and disrnissed, with
prejudice, each party to bear its own costs. The Court Shall retainjurisdiction to (1) vacate this Ord€r
and reopen the action upon cause shown that settlement has not been completed and further litigation
is necessary or (2) alter the terms of Settlement and dismissal upon agreement ofthe parties. The
parties have informed the Court a consent entry will follow.

I'l` IS SO ORDERED.

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_ CHRISTOPHER A. BOYKO '
§ F"_ED j United States District Judge

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